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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


 RUBEN ORLANDO ESCOBAR,

        Petitioner,

 v.                                                        CASE NO: 8:02-cr-228-T-30EAJ

 UNITED STATES OF AMERICA,

       Respondent.
 _________________________________/


                                           ORDER

        Before the Court is Petitioner’s “Motion for Reduction of Sentence Based on

 Guideline Amendment 503 Effective November 1994, Concerning a Reasonable

 Foreseeability Finding in Conjunction With § 1B1.3(a) Relevant Conduct, for § 2D1.1(b)(1)

 Enhancement Base on Co-Conspirator’s Conduct to Apply” (Dkt. 315).

                                      BACKGROUND

        On May 29, 2002, Petitioner and eight other defendants were convicted in a jury trial

 of the following charges: (1) possessing five kilograms or more of a mixture or substance

 containing a detectable amount of cocaine while aboard a vessel subject to the jurisdiction

 of the United States in violation of 46 App. U.S.C. § 1903(a) and 1903(g)1, 18 U.S.C. § 2,

 and 21 U.S.C. § 841(b)(1)(A)(ii); and (2) conspiracy to possess cocaine with intent to

 distribute while aboard a vessel subject to the jurisdiction of the United States, in violation

 of 46 App. U.S.C. § 1903 subsections (a),(g), and (j), and 21 U.S.C. § 841(b)(1)(A)(ii).
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        Petitioner and his co-defendants were members of a crew aboard a fishing vessel

 known as the Punta del Este (“Punta”) that was interdicted in the Pacific Ocean. At trial, the

 government put on evidence that 4,665 kilograms of cocaine, valued at $100,000,000, were

 found aboard the vessel while the fishing equipment - - - rusted hooks, unused fishing line,

 tangled fishing net, cluttered deck, ice in blocks in the fish hold - - - indicated that the

 defendants were not engaged in fishing activity.

        On February 14, 2003, Petitioner was sentenced to 292 months imprisonment and five

 years of supervised release. Petitioner and the co-defendants appealed their convictions to

 the United States Court of Appeals for the Eleventh Circuit. On March 4, 2004, the Eleventh

 Circuit affirmed some of the defendants’ convictions, including Petitioner’s, but vacated the

 sentences of four co-defendants.

        Petitioner moves the Court pursuant to 18 U.S.C. § 3582(c) to reduce his sentence

 under Amendment 503 to the United States Sentencing Guidelines. “Amendment 503,

 effective November 1, 1994, clarified U.S.S.G. § 1B1.13, which provided a method for

 calculating a defendant's specific offense characteristics, by mandating that the actions of

 co-conspirators before the defendant joined the conspiracy could not amount to relevant

 conduct. See U.S.S.G. App C, Amend. 503.” United States v. Val Saint, 319 Fed. Appx. 842,

 845 (11th Cir. 2009). Petitioner complains that his sentence was improperly enhanced based

 on a co-conspirator’s possession of a firearm.



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        This Court has authority to modify or correct a previously imposed sentence only in

 the circumstances set out in 18 U.S.C. § 3582(c). These circumstances are limited to the

 following: (1) when the Bureau of Prisons moves the Court to modify the sentence for

 reasons outlined in § 3582(c)(1)(A); (2) under Fed. R. Crim. P. 35 (on the government's

 motion to reduce a sentence for substantial assistance or to correct a clerical mistake within

 fourteen days of the date the sentence was imposed); and (3) when the guidelines under

 which the defendant was sentenced have been subsequently lowered, and a modification of

 sentence is consistent with the guidelines' policy statements. 18 U.S.C. § 3582(c)(2). The

 effective date of Amendment 503 was November 1994. Val Saint, 319 Fed. Appx. at 845.

 Petitioner was sentenced in 2003. Amendment 503 is not a modification to the guidelines

 that occurred subsequent to Petitioner’s sentence. Thus, because the effective date of

 Amendment 503 was well before Petitioner was sentenced, he cannot argue that he was

 sentenced to a term of imprisonment that has subsequently been lowered by the U.S.

 Sentencing Commission. See United States v. Herrera-Garcia, 422 F.3d 1202, 1203 (10th

 Cir. 2005) (where the effective date of a Guidelines amendment was well before petitioner

 was sentenced, he cannot argue that he was "sentenced to a term of imprisonment … that has

 subsequently been lowered by the Sentencing Commission"). Therefore, this Court is

 without authority to reduce his sentence.

        Accordingly, the Court ORDERS that Petitioner’s “Motion for Reduction of Sentence

 Based on Guideline Amendment 503 Effective November 1994, Concerning a Reasonable

 Foreseeability Finding in Conjunction With § 1B1.3(a) Relevant Conduct, for § 2D1.1(b)(1)

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 Enhancement Base on Co-Conspirator’s Conduct to Apply” (Dkt. 315) is DENIED.

       DONE and ORDERED in Tampa, Florida on October 18, 2010.




 SA: sfc
 Copy to:
 Petitioner, pro se
 Counsel of Record




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